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 5
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 6
     MIZUHO Orthopedic Systems, Inc.
 7


 8
                                   UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11
     MIZUHO ORTHOPEDIC SYSTEMS,                       )   Case No. 13-cv-0 I 587 MMC
12   INC., a Delaware Corporation                     )
                                                      )
13
                     Plaintiff,                       )
14   vs.                                              )   NOTICE OF SETTLEMENT and
                                                      )   [PROPOSED] ORDER ; VACATING
15
     MAQUET CARDIOVASCULAR, LLC, a~                       CASE MANAGEMENT CONFERENCE
16   Delaware Limited Liability Company, et al.,      )
                                                      )
17                   Defendants.                      )
                                                      )
18
     _____________________________)
19

20                                     NOTICE OF SETTLEMENT

21
            Counsel of record for Plaintiff MIZUHO Orthopedic Systems, Inc. and Defendants,
22

23   Maquet Cardiovascular, LLC, Maquet Cardiovascular US Sales, LLC and Maquet, Inc. dba

24   Maquet Medical Systems USA certify that the parties have reached a written settlement of all

25
     issues in this case and that the parties will be able to file a Dismissal with the Court in forty-five
26
     (45) days.
27
     II
28


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                 Case 3:13-cv-01587-MMC Document 40 Filed 05/12/14 Page 2 of 2




 1   Dated: May 9, 2014.                          BIELEN, LAMPE & THOEMING, P.A.

 2                                                By: Is/ Charles L. Thoeming

 3                                                Charles L. Thoeming
                                                  Attorneys for Plaintiff,
 4                                                MIZUHO Orthopedic Systems, Inc.
 5

 6
                                       CONCURRENCE IN FILING
 7

 8             I, Charles L. Thoeming, am the ECF User whose identification and password are being

 9   used to file this Notice of Settlement & [Proposed] Order. In compliance with General Order

10   45.X.B, I hereby attest that David Loewenstein, counsel for defendants, has concur-red in this

11   filing.

12
                                                         Is/ Charles L. Thoeming
13                                                        Charles L. Thoeming

14

15

16                                        [PROPOSED] ORDER
17
     PURSUANT TO NOTICE OF SETTLEMENT, the par-ties shall file Dismissal of this case
18
     no later than June 24, 20 14. The Case Management Conference currently set for May 16, 2014
19   is hereby VACATED.
20   DATED: May 12             12014
                                                                  Hon Maxine M. Chesney
21                                                                United States District Court Judge
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                  13-cv-01587 MMC NOTICE OF SETTLEMENT and [PROPOSED ORDER] - PAG E 2
